     Case 20-10383-RG         Doc 46    Filed 02/10/21 Entered 02/10/21 15:54:52               Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
                                                                Case No.:          20-10383 (RG)
      In Re:                                                                Order Filed on February 10, 2021
                                                                            by Clerk
                                                                Chapter:             7
                                                                            U.S. Bankruptcy  Court
      CHERYL LYNN HALL,                                                     District of New Jersey
                                                                Hearing Date:      February 9, 2020
                                     Debtor.
                                                                Judge:              Rosemary Gambardella

        ORDER ON TRUSTEE’S MOTION TO DISMISS AND REQUIRING DEBTOR TO
      APPEAR AT THE 11 U.S.C. §341(a) MEETING OF CREDITORS BY TELEPHONE, OR
                      IN THE ALTERNATIVE, TO DISMISS CASE


               The relief set forth on the following page, numbered two (2), is hereby ORDERED.




DATED: February 10, 2021
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Page 2
Case Name:        Cheryl Lynn Hall
Case No.:         20-10383 (RG)
Caption:          ORDER ON TRUSTEE’S MOTION TO DISMISS AND
                  REQUIRING DEBTOR TO APPEAR AT THE 11 U.S.C. §341(a)
                  MEETING OF CREDITORS BY TELEPHONE, OR IN THE
                  ALTERNATIVE, TO DISMISS CASE
______________________________________________________________________________

          THIS MATTER having been brought before the Court on motion by the Chapter 7

Trustee, Donald V. Biase, seeking dismissal of the Chapter 7 bankruptcy petition filed by Cheryl

Lynn Hall, appearing pro se, for failure to cooperate with the Trustee and her failure to appear

and be examined at the required U.S.C. § 341(a) Meeting of Creditors, and Debtor Cheryl Lynn

Hall having continually failed to attend said U.S.C. § 341(a) Meeting of Creditors resulting in a

one-year delay, which delay has prejudiced Debtor’s creditors, and the Court having reviewed

the Trustee’s submissions; and due notice having been given; and for good cause shown; and for

the reasons set forth on the record, it is

          ORDERED that Debtor Cheryl Lynn Hall is directed to appear telephonically at the 11

U.S.C. § 341(a) Meeting of Creditors on Monday, May 10, 2021 at 1 p.m. The 341(a) Meeting

of Creditors can be accessed by calling (866) 852-1048, using access code 8753879#; and it is

further

          ORDERED that if the Debtor Cheryl Lynn Hall does not appear at the U.S.C. § 341(a)

Meeting of Creditors on Monday, May 10, 2021 at 1 p.m, the Trustee’s Motion to Dismiss the

Chapter 7 Bankruptcy Petition of Debtor Cheryl Lynn Hall for failure to cooperate with the

Trustee and failure to attend the required U.S.C. § 341(a) Meeting of Creditors is GRANTED,

and the case is dismissed without further notice. A separate Order dismissing the case will be

entered by the Court; and it is further

          ORDERED that the Trustee will serve a copy of the within Order to the Debtor within

five (5) days of the entry of this Order.
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     Filename:                 20-10383 Cheryl Lynn Hall - Order re 341 hearing
     Directory:                G:\A-ORDERS
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